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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA


                   ORDER SETTING DISCOVERY PROCEDURES

         THIS CAUSE is before the Court following the referral of this action for all

  discovery matters. In order to facilitate the speedy and inexpensive resolution of this

  action, Fed. R. Civ. P. 1, it is hereby

          ORDERED AND ADJUDGED that the following discovery procedures will

  apply in this case as of the date of this Order:

  1.     The Court strictly enforces the guidelines on discovery objections set forth

  below, together with the provisions of the Federal Rules of Civil Procedure addressing

  discovery matters, Rules 26-37, and S.D. Fla. Local Rule 26.1:

                  “Vague, Overly Broad and Unduly Burdensome”

         a.     Parties shall not make conclusory boilerplate objections.           Such

  objections do not comply with Local Rule 26.1(G)(3)(a) which provides “Where an

  objection is made to any interrogatory or sub-part thereof or to any document request

  under Fed.R.Civ.P. 34, the objection shall state with specificity all grounds.” Blanket,

  unsupported objections that a discovery request is “vague, overly broad, or unduly

  burdensome” are, by themselves, meaningless, and disregarded by the Court. A party

  objecting on these bases must explain the specific and particular ways in which a

  request is vague, overly broad, or unduly burdensome. See Fed. R. Civ. P. 33(b)(4);

  Josephs v. Harris Corp, 677 F.2d 985, 992 (3d Cir. 1982) (“the mere statement by a

  party that the interrogatory was ‘overly broad, burdensome, oppressive and
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  irrelevant’ is not adequate to voice a successful objection to an interrogatory.”).

  Sworn testimony or evidence may be necessary to show that a particular request is

  in fact burdensome.

  “Irrelevant Or Not Reasonably Calculated to Lead to Admissible Evidence”

        b.     As with the previous objection, an objection that a discovery request is

  irrelevant or not reasonably calculated to lead to admissible evidence must include a

  specific explanation describing why the request lacks relevance, and why the

  information sought will not reasonably lead to admissible evidence. Parties are

  reminded that the Federal Rules allow for broad discovery, which does not need to be

  admissible at trial. See Fed. R. Civ. P. 26(b)(1); see Oppenheimer Fund, Inc. v.

  Sanders, 437 U.S. 340, 351-52 (1978).

                        Specificity and Scope of Objections

        c.     Parties should avoid reciting a formulaic objection followed by an

  answer to the request. It has become common practice for a party to object on the

  basis of any of the above reasons, and then state that “notwithstanding the above,”

  the party will respond to the discovery request, subject to or without waiving such

  objection. Such a boilerplate objection and answer preserves nothing, and constitutes

  only a waste of effort and the resources of both the parties and the court. Further,

  such practice leaves the requesting party uncertain as to whether the question has

  actually been fully answered, or only a portion of it has been answered.        Civil

  Discovery Standards, 2004 A.B.A. Sec. Lit. 18.     Counsel shall include in the

  answer a clear statement that all responsive documents/information

  identified have in fact been produced/provided, or otherwise describe the
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  category of documents/ information that have been withheld on the basis of

  the objection.


                      Objections Based upon Privilege


        d.     Generalized objections asserting attorney-client privilege or work

  product doctrine also do not comply with local rules. Local Rule 26.1(e)(2)(B) requires

  that objections based upon privilege identify the specific nature of the privilege being

  asserted, as well as identifying such things as the nature and subject matter of the

  communication at issue, the sender and receiver of the communication and their

  relationship to each other, among others. Parties are instructed to review this Local

  Rule carefully, and refrain from objections in the form of: “Objection.            This

  information is protected by attorney/client and/or work product privilege.”

              Objections to Scope of 30(b)(6) Notices for Depositions

        e.     Corporations are not entitled to review of anticipatory relevance

  objections prior to the taking of a corporate representative deposition. Objections to

  the scope of a deposition notice shall be timely served (not filed) in advance of the

  deposition. See King v. Pratt & Whitney, 161 F.R.D. 475 (S.D. Fla. 1995); New World

  Network Ltd. v. M/V Norwegian Sea, 2007 WL 1068124, at *2-3 (S.D. Fla. 2007).

                            Burden to Sustain Objections

        f.     To show that the requested discovery is objectionable, the burden is on

  the objecting party to demonstrate with specificity how the objected-to request is

  unreasonable. Rossbach v. Rundle, 128 F. Supp. 2d 1348, 1354 (S.D. Fla. 2000);

  Dunkin’ Donuts, Inc. v. Mary’s Donuts, Inc., 2001 WL 34079319 (S.D. Fla. 2001);
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  Milinazzo v. State Farm Ins. Co., 247 F.R.D. 691, 695 (S.D. Fla. 2007). Failure to

  satisfy this burden will result in entry of an order compelling discovery under Rule

  37. Failure to show that the objecting party’s position was substantially justified will

  result in entry of monetary sanctions under that Rule. If the burden to sustain an

  objection is satisfied, the requesting party will have to show with specificity how the

  information is relevant and necessary, and proportional to the particular needs of the

  case. Henderson v. Holiday CVS, L.L.C., 269 F.R.D. 682, 686 (S.D. Fla. 2010);

  Lombardi v. NCL (Bahamas) Ltd., 2015 WL 12085849, at *1 (S.D. Fla. 2015) (citing

  2015 Amdt. Rule 26(b)).

  2.    If a bona fide discovery dispute arises notwithstanding these guidelines, the

  parties must first confer in a good faith effort to resolve the dispute in compliance

  with S.D. Fla. L.R. 7.1(a)(3). Counsel must under this Local Rule certify that good

  faith efforts were made. An adequate certificate of conference almost always requires

  at least one, if not more, personal communications between counsel.               Note,

  especially, that un-responded to emails are not enough to satisfy counsel’s

  obligations under this Rule. The Court will deem an issue waived if counsel fails

  to abide by this obligation or fails to certify compliance with the Rule.

        Discovery disputes must be raised timely as required by S.D. Fla. L.R.

  26.1(g)(1).   The Court strictly enforces this Rule, and interprets the thirty-day

  window as the opportunity during which good faith resolution efforts must be made

  (subject to the seven-day agreed extension permitted by the rule).          Unapproved

  extensions agreed to by the parties shall not be recognized. The Court also enforces

  Rule 26.1(d) that requires that all discovery, including resolution of discovery
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  disputes, be fully completed prior to the expiration of the discovery cutoff. The parties

  are generally free to engage in agreed-upon discovery after the cutoff date; but under

  Rule 26.1(d) no Court intervention or remedy will be available to either party after

  the cutoff date.

  3.    Except as provided below, discovery disputes shall not be raised by

  filing discovery motions under Rule 37.

        a.     Any discovery motion filed on the docket shall be Stricken.1 In lieu of

  traditional motion practice, a regular discovery calendar shall be held every

  Thursday, from 10:00 a.m. to 1:30 p.m., at the James Lawrence King Federal

  Justice Building, 99 NE 4th Street, Tenth Floor, Courtroom 5, Miami, Florida 33132.

        b.     The party seeking to enforce a discovery obligation or obtain protection

  from such an obligation shall utilize the discovery calendar process. After conferring

  with the opposing party to confirm available dates, the moving party shall contact the

  undersigned’s Chambers at (305) 523-5750 and place the matter on the next available

  discovery calendar. The movant must contact Chambers no later than noon on the

  Friday preceding the discovery calendar to schedule a time on that week’s calendar.

  Ordinarily, no more than fifteen (15) minutes of argument per side is permitted.

        c.     On the same day that the Court confirms an available time on the

  discovery calendar, the Court will enter a Notice of Hearing. The movant shall file a



        1 This restriction does not apply to motions to stay discovery altogether (which
  are often premised on pending dispositive motions that are believed to moot the
  necessity of any and all forms of discovery). Such motions for a blanket stay are not
  deemed “discovery motions” for purposes of this Standing Order and may be filed on
  the docket for the District Judge’s consideration.
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  “Notice of Compliance” on the docket that sets forth the substance of the discovery

  matters to be heard and the status of the parties’ pre-filing efforts as to that

  issue/request. The Notice of Compliance shall include a certificate of conferral that

  fully complies with Local Rule 7.1(a)(3).

        d.     The parties shall provide the undersigned a copy of all source materials

  relevant to the discovery dispute, via hand-delivery or through a scanned PDF

  document that is emailed to the CM/ECF mailbox (torres@flsd.uscourts.gov), no later

  than noon on the Monday preceding the noticed hearing. (For example, if the dispute

  concerns interrogatories, the interrogatories at issue and the response thereto, shall

  be provided to the undersigned’s Chambers.) A proposed Order on the issues

  raised shall also be submitted together with the source materials, which

  shall set forth the specific relief requested for each request/category of

  request.

        e.     With respect to issues involving privilege disputes, the party with the

  burden of persuasion on a privilege claim has the obligation to present to the Court,

  no later than the time of the hearing, sworn evidence if necessary to satisfy that

  burden. The failure to present that sworn evidence by the scheduled hearing may be

  deemed by the Court a waiver of the privilege absent a showing of good cause.

  4.    Exceptions for written objections to the timing of depositions. If a

  motion for protective order is required for a particular dispute under Rule 26(c), Rule

  30(d)(3), or Local Rule 26.1.(g)(3), a notice of objection must be served (not filed) on

  the opposing party no later than five days after receipt of the deposition notice at

  issue. Such a notice may not be submitted on the eve of the event. The failure to
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  timely preserve an objection as per this Order may be deemed a waiver. But if a good

  faith deposition scheduling dispute arises prior to a deposition, the service of the

  written notice of objections, followed by a good faith conference to resolve the dispute,

  will be sufficient to preserve the issues involved without fear of waiver prior to the

  Court resolving the dispute at a discovery conference. See also S.D. Fla. L.R. 26.1(h).

  If the parties do not thereafter reach agreement to resolve the dispute, the objecting

  party shall schedule the matter at the next available discovery calendar. Rule 37,

  however, continues to apply to such objections; thus if the Court finds that the

  objections were not substantially justified the failure to comply with a timely served

  Rule 30 deposition notice may be sanctioned appropriately.             Consistent with

  paragraph 1.e above, any objections to the scope of a Rule 30(b)(6) deposition notice

  shall only be adjudicate after the taking of the deposition.

  5.    To reiterate, the Court expects all parties to engage in reasonable compromise

  to facilitate the resolution of their discovery disputes.      The Court may impose

  sanctions, monetary or otherwise, if the Court determines discovery is being

  improperly sought or is being withheld in bad faith or without substantial

  justification. See Fed. R. Civ. P. 37.

        DONE AND ORDERED in Chambers at Miami, Florida, this 28th day of

  April, 2021.

                                            /s/ Edwin G. Torres
                                           EDWIN G. TORRES
                                           UNITED STATES MAGISTRATE JUDGE
